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November 2, 2018
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The Honorable Mary F. Walrath
824 North Market Street, 5th Floor
Wilmington, DE 19801


Re:    The Weinstein Company Holdings, LLC, et al., Case No. 18-10601 (MFW);
       Agenda for 11/6/18 Hearing


Dear Judge Walrath,

       I write on behalf of Fade to Black Productions, Inc., Tom Ford, Outerbanks
Entertainment, Inc. and Kevin Williamson (collectively, the “Counterparties”) to correct
inaccuracies in the Notice of Agenda of Matters Scheduled for Hearing on November 6, 2018
[Dkt. No. 1646] (the “Agenda”), filed by the above-referenced debtors (the “Debtors”) on
November 2, 2018.

      On September 25, 2018, the Counterparties filed the Motion of Certain Contract
Counterparties to Compel Assumption of Executory Contracts [Dkt. No. 1540] (the “Motion”).
The Motion is listed at Agenda item 11.

        The Agenda incorrectly lists November 2, 2018 at 3:00 p.m. (ET) as the objection
deadline for the Debtors. The Debtors’ objection deadline was extended by the Counterparties to
October 30, 2018 at 4:00 p.m. (ET) (when the hearing on the Motion was adjourned from its
original date of October 9th to November 6th), but the Debtors neither asked for, nor were
granted, a subsequent extension by the Counterparties beyond October 30th.

       At the time of the filing of the Agenda, the Counterparties had granted Lantern
Entertainment, LLC (“Lantern”) an extension to November 2, 2018 at 3:00 p.m., as set forth in
the Agenda. The deadline for Lantern to file an objection to the Motion has been further
extended by agreement of the parties to November 5, 2018 at 10:00 a.m. (ET).

         In addition, the Agenda indicates that “[t]o the extent that the Debtors’ and/or Lantern
file an objection, the hearing on [the Motion] will go forward. If the Debtors and/or Lantern do
not file an objection, the hearing on [the Motion] will be continued to December 17, 2018 at
10:30 a.m. (ET).” The Counterparties did not agree to this procedure, and the Debtors do not
have the right to unilaterally adjourn the Counterparties’ Motion. While the Counterparties
reserve all rights, the Counterparties intend to go forward with the Motion at the November 6th
hearing to the extent their issues are not fully resolved.
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November 2, 2018
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                                           Respectfully submitted,



                                           /s/ Jeffrey S. Sabin      _
                                           Jeffrey S. Sabin, Esq.
